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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                                   MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION
                                                                 CIVIL ACTION: 01-CV-12257-PBS


THIS DOCUMENT RELATES TO:

State of Arizona v. Abbott Labs., Inc., et al.,
        Cause No. 1:06-CV-11069-PBS



             MOTION FOR DISMISSAL OF BRISTOL-MYERS SQUIBB COMPANY,
                ONCOLOGY THERAPEUTICS NETWORK CORPORATION
                      AND APOTHECON, INC. WITH PREJUDICE


            By and through their counsel, the State of Arizona (“State”), pursuant to Fed. R. Civ. P.

41(a)(2), moves for an Order of the Court dismissing defendants Bristol-Myers Squibb

Company, Oncology Therapeutics Network Corporation and Apothecon, Inc. (collectively

referred to as “BMS” or the “BMS Group”). In support of this motion, the State states as

follows:

            1.        The BMS Group were named as defendants in the above-referenced action.

            2.        The State of Arizona has entered into a Settlement Agreement and Release

(“Agreement”) with the BMS Group. Pursuant to the terms of the Agreement, the State seeks to

dismiss all claims asserted by it against the BMS Group with prejudice.

            3.        Pursuant to the Agreement, the BMS Group and the State have agreed that each

will bear its own legal and other costs incurred in connection with the lawsuit.

            4.        The dismissal has no effect on the State of Arizona’s claims or allegations against

any party other than the BMS Group in this action.



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            5.        The BMS Group consents to this motion.

            WHEREFORE, the parties jointly request that the Court enter an Order dismissing the

BMS Group with prejudice. A proposed Order of dismissal is attached.



Dated: September 16, 2009
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                                CERTIFICATE OF SERVICE

       I, Steve W. Berman, hereby certify that a true and correct copy of the above document
was served on the attorney of record for each party via the Court’s electronic filing system this
16th day of September, 2009.


                                              By        s/ Steve W. Berman
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